






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-05-00373-CR






Albert Cubit, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 403RD JUDICIAL DISTRICT


NO. 3030449, HONORABLE BRENDA KENNEDY, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



Albert Cubit seeks to appeal from a judgment of conviction for family violence
assault.  Sentence was imposed on April 8, 2005.  There was no motion for new trial.  The deadline
for perfecting appeal was therefore May 9, 2005.  Tex. R. App. P. 26.2(a)(1).  Notice of appeal was
filed on June 9, 2005.  Under the circumstances, we lack jurisdiction to dispose of the purported
appeal in any manner other than by dismissing it for want of jurisdiction.  See Slaton v. State, 981
S.W.2d 208 (Tex. Crim. App.1998); Olivo v. State, 918 S.W.2d 519, 522-23 (Tex. Crim. App.
1996).


The appeal is dismissed.



				___________________________________________

				David Puryear, Justice

Before Chief Justice Law, Justices Patterson and Puryear

Dismissed for Want of Jurisdiction

Filed:   August 5, 2005

Do Not Publish


